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                   IN THE UNITED STATES DISTRICT COURT FOR THE
                          NORTHERN DISTRICT OF FLORIDA
                               GAINESVILLE DIVISION


UNITED STATES OF AMERICA,

v.                                                           CASE NO. 1:05-cr-00017-MP-AK

JEFFERY ROBINSON,
MILTON LENARD BROWN,
MICHAEL DEALLO McLEOD,

      Defendants.
___________________________/

                                          ORDER

       This matter is before the Court on Doc. 258, Motion to Continue Sentencing filed by

Jeffery Robinson, Doc. 262, Motion to Continue Sentencing filed by Michael McLeod, and Doc.

264, Second Motion to Continue Sentencing filed by Milton Brown. The defendants request the

continuances so that they may each continue to provide assistance to the Government. A

telephone hearing was held on this matter on Friday, August 18, 2006. During the hearing, the

Government indicated that it did not object to any of the motions. Accordingly, the motions are

granted. Therefore, it is hereby


       ORDERED AND ADJUDGED:

       1.      Defendant Robinson’s sentencing is hereby continued until Wednesday, October
               18, 2006, at 2:00 p.m.

       2.      Defendant Brown’s sentencing is hereby continued until Wednesday, October 18,
               2006, at 2:30 p.m.

       3.      Defendant McLeod’s sentencing is hereby continued until Wednesday, October
               18, 2006, at 3:00 p.m.
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         DONE AND ORDERED this     28th day of August, 2006


                                  s/Maurice M. Paul
                            Maurice M. Paul, Senior District Judge




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